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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  WAG Acquisition, L.L.C.,          Civil Action No. 2:14-cv-02340
                      Plaintiff,    (ES)(MAH)

        v.                               CONTAINS INFORMATION
                                     DESIGNATED AS ATTORNEYS’ EYES
  Multi Media, L.L.C., et al.,        ONLY UNDER THE PROTECTIVE
                                                ORDER
                      Defendants.
                                             FILED UNDER SEAL


  WAG Acquisition, L.L.C.,          Civil Action No. 2:14-cv-02345
                      Plaintiff,    (ES)(MAH)

        v.

  Data Conversions, Inc., et al.
                      Defendants.

  WAG Acquisition, L.L.C.,
                      Plaintiff,
                                    Civil Action No. 2:14-cv-02674
        v.                          (ES)(MAH)

  Flying Crocodile, Inc., et al.,
                      Defendants.
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  WAG Acquisition, L.L.C.,

                      Plaintiff,
                                        Civil Action No. 2:14-cv-03456
        v.                              (ES)(MAH)

  FriendFinder Networks Inc., et al.,
                      Defendants.

  WAG Acquisition, L.L.C.,

                      Plaintiff,
                                        Civil Action No. 2:14-cv-04531
        v.                              (ES)(MAH)

  Vubeology, Inc., et al.,
                      Defendants.

  WAG Acquisition, L.L.C.,
                      Plaintiff,
                                        Civil Action No. 2:15-cv-3581
        v.                              (ES)(MAH)

  WEBPOWER, Inc. d/b/a WP
  Associates, et al.,
                      Defendants.


  PLAINTIFF’S RESPONSE TO DEFENDANTS’ OBJECTION TO REPORT
    AND RECOMMENDATION DENYING DEFENDANTS’ MOTION TO
      DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION
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        Plaintiff WAG Acquisition, L.L.C. (“WAG”) respectfully submits its

  response to the Objections that Defendants (D.E. 176) (the “Objections”)

  submitted with regard to the October 23, 2018 Report and Recommendation issued

  by Magistrate Hammer (D.E. 175) (“R&R”). 1

        Defendants’ sole objection is to Magistrate Hammer’s recommendation that

  the Court deny Defendants’ motion to dismiss for lack of subject matter

  jurisdiction (standing). WAG does not object to Magistrate Hammer’s

  recommendation to grant Defendants’ motion to transfer venue. 2

        Magistrate Hammer’s well-reasoned recommendations should be adopted in

  their entirety and the Objections should be overruled.


                          PRELIMINARY STATEMENT

        In arguing in support of the Objections, Defendants merely rehash a

  winnowed set of arguments that Defendants initially made to Magistrate Hammer.

  Those arguments are no more persuasive now than when Defendants first made

  them, and seem to have been filed merely to gain an easy extension of the stay that


  1
   Unless otherwise noted, citations to the docket are to the lead case, WAG
  Acquisition, L.L.C. v. Multi Media, L.L.C. (Civil Action 14-cv-2340 (ES)(MAG)).
  2
    The Defendants in the related case WAG Acquisition, L.L.C. v. Gattyán Group
  S.à.r.l. (Civil Action 14-cv-2832 (ES)(MAH)) also objected to Magistrate
  Hammer’s recommendation to dismiss Defendant Docler Media, LLC without
  prejudice and deny Defendant’s Duodecad IT Services Luxembourg S.a.r.l. motion
  to transfer venue. WAG is submitting a separate response to those defendants’
  objections.

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  has been in place since September 12, 2017 (D.E. 159), thereby preventing WAG

  in the interim from moving forward in transferee venues.

        Defendants initially moved below on dual grounds of both constitutional and

  prudential standing but now, in the Objections, rely only on an alleged lack of

  prudential standing.

        Defendants’ original attack based on constitutional standing was frivolous

  from the start, insofar as WAG’s pleadings reflected a clear injury-in-fact resulting

  from infringement of the patents held in its name, by reason of WAG’s possession

  of the sole and exclusive rights to practice the patents and institute their

  enforcement. Indeed, as Magistrate Hammer found, “[u]under the agreements

  between the parties, WAG retained all exclusionary and substantial rights in the

  patents such that WAG possesses constitutional standing to bring this action.”

  (R&R, at 23.)

        In the Objections, Defendants do not even raise the issue of injury-in-fact,

  which is central to constitutional standing. Though they cite in passing the fact that

  constitutional standing is a requisite for standing (Objections, at 3), they do not

  discernibly argue that WAG actually lacks constitutional standing. For example,

  Defendants’ opening brief in support of the motion to dismiss (Defs. Br., at 24-25

  (D.E. 163)) alleged: “WAG lacks constitutional standing . . . . ‘[I]t has not suffered

  any cognizable injury and does not have Article III standing.’” (quoting Enhanced



                                             2
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  Sec. Research, LLC v. Juniper Networks, Inc., 2010 U.S. Dist. LEXIS 72745, at

  *13-14 (July 20, 2010)). Yet in the Objections, no such argument can be found.

  Defendants do not even cite Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61

  (1992), the controlling authority on constitutional standing. Defendants have

  abandoned the ground of constitutional standing.

        Prudential standing - the sole basis of Defendants’ Objections - has no merit.

  The premise of a prudential standing argument is that even if there is a cognizable

  case or controversy under Article III in a case otherwise properly before a federal

  court, the court should nevertheless decline to exercise its jurisdiction for

  “prudential” reasons, under suitable circumstances. The circumstances need to be

  compelling, however, as otherwise the court would be improperly abdicating its

  responsibility to adjudicate cases properly before it. The recognized grounds for

  such abstentions are (i) a risk of multiple liability or inconsistent determinations,

  and/or (ii) the existence of non-parties whose interests are not adequately

  represented in the existing case as constituted. Not even a hint exists in the

  Objections (or in the Defendants’ submissions to Magistrate Hammer) that either

  of these circumstances apply, nor does any suggestion of any other justification for

  the Court to decline to act. As Magistrate Hammer found, no basis exists to invoke

  the doctrine of prudential standing here. (R&R, at 26 (“Defendants’ arguments

  concerning prudential standing are unpersuasive.”).)



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        As the R&R makes clear, Magistrate Hammer considered in detail the

  application of the facts asserted by both Defendants and WAG. The R&R that

  resulted therefrom - to the extent Defendants even question it as to prudential

  standing - is well-reasoned and should be adopted in its entirety, and the

  Objections should be overruled.

                                LEGAL ARGUMENT
     1. THE STANDARD OF REVIEW PERMITS THE DISTRICT COURT
        JUDGE TO CONSIDER THE R&R AND THE COURT SHOULD DO
        SO HERE
        While the standard of review for the report and recommendations of a

  Magistrate Judge concerning a dispositive motion is de novo (28 U.S.C. §

  636(b)(1)(A); Fed. R. Civ. P. 72; L. Civ. R. 72.1(c)(2)), a District Court Judge

  should not ignore the Magistrate Judge’s considered report and recommendation or

  the record developed below. In fact, Local Civil Rule 72.1(c)(2) explicitly permits

  a District Court Judge to rely upon both the record developed before the Magistrate

  Judge and the Magistrate Judge’s proposed findings and recommendations.

        Indeed, “the district court, consistent with congressional intent in [28 U.S.C.

  §] 636(b)(1) may place reliance upon a magistrate judge’s proposed findings and

  recommendations consistent with ‘the exercise of sound judicial discretion.’”

  United States v. Lightman, 988 F. Supp. 448, 457 (D.N.J. 1997) (citing United

  States v. Raddatz, 447 U.S. 667, 676 (1980)). Similarly, the Court “need not



                                            4
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  normally conduct a new hearing and may consider the record developed before the

  Magistrate Judge, making [its] own determination on the basis of that record.” L.R.

  72.1(c)(2). WAG respectfully submits that Magistrate Hammer’s thorough and

  well-reasoned R&R warrants such reliance here.

      2. WAG HAS STANDING TO SUE

          A. Legal Standard

          Defendants do not object to the legal standard that Magistrate Hammer

  relied upon in the R&R. Nor do they dispute that in patent infringement actions

  there are three categories of plaintiffs: “[1] those that can sue in their own name

  alone; [2] those that can sue as long as the patent owner is joined in the suit; and

  [3] those that cannot even participate as a party to an infringement suit.” Morrow v.

  Microsoft Corp., 499 F.3d 1332, 1339 (Fed. Cir. 2007).

          Defendants challenge Magistrate Hammer’s conclusion that “[a]pplying

  Morrow, WAG is in the first category of plaintiffs that can sue in their own name,

  and need not add WLF 3 as a plaintiff.” (R&R, at 23; compare with Objections, at

  4.) 4



  3
    WLF refers to Woodsford Litigation Funding (US) Limited.
  4
    Defendants do not refer to Lujan and certainly do not ever attempt to challenge
  the R&R’s holding that WAG meets the second and third prongs of the Lujan
  inquiry for constitutional standing (that WAG’s injury is causally related to the
  alleged infringing conduct and its injury is redressable if it is successful in the
  litigation). (R&R, at 26.)

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        B. Magistrate Hammer Correctly Determined that WAG Has the Sole
           Right to Initiate Litigation
        Defendants do not challenge Magistrate Hammer’s conclusion that the right

  to sue is a “paramount consideration,” in which a party retains the rights to bring

  litigation to enforce the patent-in-suit. (R&R, at 13 (citing Alfred E. Mann Found.

  for Sci. Research v. Cochlear Corp., 604 F.3d 1354, 1361 (Fed. Cir. 2010)).) Nor

  do Defendants dispute Magistrate Hammer’s conclusion that WAG “retains the

  exclusive right to sue and does not need WLF’s consent to do so.” (R&R, at 14.)

        Instead, Defendants argue what they characterize as a “practical”

  consideration: that                        Redacted
            (Objections, at 5.) As the R&R noted,            Redacted
                                      , “WAG nonetheless may proceed with the

  suit.” (R&R, at 14.) Defendants make the unsupported statement that WAG would

  be unable to obtain additional funding in the event WLF declined to fund a new

  litigation. Even if supported by any evidence (which it is not), standing cannot be

  based upon the financial wherewithal of the plaintiff. Cf. Buckley v. Valeo, 424

  U.S. 1, 49 (1976) (“[t]he First Amendment’s protection against governmental

  abridgment of free expression cannot properly be made to depend on a person’s

  financial ability to engage in public discussion.”). Defendants’ allegation that

                                      Redacted
           (Objections, at 6), is thus a red herring divorced from the actual legal


                                            6
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  requirements of standing, and Defendants cite to no authority in support of this

  proposition.

        C. WAG’s Assertion of its Patent Rights Poses No Risk of Multiple
           Liability
        As noted above, WAG has the sole right to institute litigation involving the

  patents-in-suit. Indeed, it is uncontested that         Redacted
                                     . As Magistrate Hammer noted, “[a] core

  consideration in assessing prudential standing is whether a division of rights

  between the parties poses a risk of multiple lawsuits for the same infringement, or

  inconsistent liability,” citing Int’l Gamco, Inc. v. Multimedia Games, Inc., 504 F.3d

  1273, 1278 (Fed. Cir. 2007). (R&R, at 24.) As Magistrate Hammer further noted,

  “the relationship between WAG and WLF does not give rise to this risk.” (Id.) The

  findings underlying this determination, which the Defendants do not challenge in

  the Objections, undercut any contention as to lack of prudential standing.

        D. Defendants Fail Even to Allege Any Unrepresented Interest that
           Should Deter the Court from Adjudicating this Case.
        The Defendants have failed to bring to light any third-party interest that is

  not adequately protected by any of the parties in the existing litigation, further

  negating any conceivable “prudential standing” argument. Judge Hammer’s

  conclusion on this point is correct and stands completely unimpeached by the

  Objections:



                                             7
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        The second purpose of this consideration [“assessing prudential standing”] is
        whether the third party has interests that are unprotected in the litigation.
        The agreements between WAG and WLF point to no such interest. WLF’s
        interest is purely financial—in short, if the infringement litigation yields an
        award to WAG, WLF is remunerated. In that regard, WAG’s and WLF’s
        interests are aligned. Accordingly, the Court concludes that Defendants’
        arguments concerning prudential standing are unpersuasive.
  (R&R, at 26.)

        The foregoing two points provide a completely sufficient basis in themselves

  for the Court to overrule the Objections and confirm the R&R. WAG, however,

  offers the following arguments for the purpose of responding fully to Defendants’

  other arguments.

        E. Magistrate Hammer Correctly Determined that Redacted
                              Does Not Deprive WAG of Substantial Rights
           to Confer Standing
        Magistrate Hammer correctly determined, after thorough consideration of

  Defendants’ arguments, that                       Redacted
  does not deprive WAG of standing. (See R&R, at 18.)

                                      Redacted




                                           8
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                                     Redacted




             Under Defendants’ theory, if all members of a corporate entity who

  have input into that entity’s evaluation of settlement proposals are not a party to

  the patent infringement lawsuit, then such an entity would lack standing. Such a

  result would fly in the face of corporate governance and structure.    Redacted




        In any case, the law is clear that the ability to exercise control over aspects

  of a company as a result of contractual or corporate arrangements simply does not

  translate into ownership of a substantial interest in the company’s patents. See In re

  Google Litig., No. CV-08-03172 RMW, 2010 WL 5211545, at *3 (N.D. Cal. Dec.

  16, 2010) (that Software Rights Archive, LLC [plaintiff] is the subsidiary of

  companies that exercise some or even significant control over it as the result of the

  corporate structure does not mean that Software Rights Archive LLC has

  transferred substantial patent rights to its parent companies).   Redacted




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                                     Redacted




                                                                                     Redacted

                                             . As Magistrate Hammer concluded,



              is not overly restrictive of the patentee’s rights in and to its patent.

  (R&R, at 18 (citing Speedplay, Inc. v. Bishop, 211 F.3d 1245, 1251-52 (Fed. Cir.

  2000)).)


        F. Magistrate Hammer Correctly Determined that Redacted
                        Do Not Deprive WAG of the Substantial Rights that
           Confer Standing
        Defendants object to Magistrate Hammer’s conclusion that        Redacted
               do not limit WAG’s ability to control the litigation to an extent

  sufficient to deny WAG standing.               Redacted                 , as Magistrate

  Hammer recognized, be contingent and not grant WLF any exclusionary rights.

  (R&R, at 19.)                              Redacted




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                                    Redacted




        G. Magistrate Hammer Correctly Determined that WLF’s Security
           Interest in the Property Does Not Confer WLF Substantial Rights to
           the Patents
        Defendants misleadingly state that                Redacted


                                                      (Objections, at 10). Redacted



                                                               Ex. 11 to Defendants’

  original Memorandum of Law in Support of Motion to Dismiss, at 135:11-22.)

        Magistrate Hammer concluded that                     Redacted
          is consistent with WLF’s protection of its investment in the litigation.

  (R&R, at 23.) “That is fundamentally different than an intention to confer on WLF

  substantial rights in the patents themselves. See, e.g., Eidos Display, LLC v. AU

  Optronics Corp., Civ. No. 11-201, 2016 WL 6680578, at *5-6 (E.D. Tex. Nov. 14,

  2016) (‘a security interest in a patent without more does not generally pose a

  joinder issue because a security interest in and of itself does not ordinarily create

  ownership rights in the patent’); City Bank & Trust Co. v. Otto Fabric, Inc., 83




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  B.R. 780, 782 (D. Kan. 1988) (‘[G]rant of a security interest [in a patent] need not

  include the conveyance of title or ownership rights.’).” (R&R, at 23.)

        Defendants’ continued reliance on Propat is misplaced. As Magistrate

  Hammer recognized, the patent holder, Authenix, as the patent owner, had not

  assigned all necessary rights to Propat, the would-be plaintiff, to grant Propat

  standing. (R&R, at 22.) Here, WAG is both the patent owner and the plaintiff in the

  litigation and “retains the most important rights in the patents.” (Id.)

        H. Magistrate Hammer Correctly Concluded that   Redacted
                                                   Not Confer Substantial
           Rights on WLF
        Magistrate Hammer concluded that                 Redacted




                                                 (R&R, at 16.)




  5
   The “ARIA” refers to the February 14, 2014 Amended and Restated Investment
  Agreement, which is attached as Exhibit 12 to Defendants’ original Memorandum
  of Law in Support of Motion to Dismiss.

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         Magistrate Hammer properly relied on Speedplay to support the position that

  where, as here,                              Redacted
               such limitations are not significantly restrictive of WAG’s rights in the

  patents. (R&R, at 17.) As noted above, Propat is distinguishable from the facts in

  this case.

         Defendants make a new argument that                   Redacted
                                                               , is relevant to

  determining that WAG does not have substantial rights in the patents-in-suit. 6 In

  fact, the different rights under the ARIA are entirely consistent with the

  Magistrate’s conclusion that WAG retained substantial rights in the patents. As

  Magistrate Hammer recognized, “WLF’s interest is purely financial.” (R&R, at

  26.) It is for this reason that                  Redacted
                                          . WAG’s rights, on the other hand, are

  essential to the litigation. As the patent owner and           Redacted


  6
    As Defendants make a new argument that could have been raised below, the
  Court should not consider such objection. “A district court is not, however,
  required to consider objections that were not presented before the magistrate.”
  Anamdi v. Kean U., CIV.A. 15-2887 JLL, 2015 WL 5138648, at *3 (D.N.J. Aug.
  31, 2015). The reason for this rule is that “the magistrate judge system was created
  to help alleviate the workload of the district judges, [and] ‘it would be
  fundamentally unfair to permit a litigant to set its case in motion before the
  magistrate, wait to see which way the wind was blowing, and-having received an
  unfavorable recommendation-shift gears before the district judge.’” Williams v.
  McNeil, 557 F.3d 1287, 1291, 92 (11th Cir. 2009).

                                              13
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                                      Redacted


        I. Magistrate Hammer Correctly Concluded that WLF Does Not Own
           the Patents
        Magistrate Hammer correctly concluded that WLF’s ability to convert the

  patents to its own name in the event that WAG defaults is merely a security interest

  that does not grant WLF any substantial rights.

        First, as found by Magistrate Hammer, “[t]he Federal Circuit has instructed

  [] that such contingencies do not confer exclusionary rights on a licensee.” (R&R,

  at 19 (quoting Morrow, 499 F.3d at 1343 (“whatever interests in the ‘647 patent

  may flow to [liquidating trust entity] in the future are insufficient to convert its

  equitable future interests in the patent into full legal exclusionary interests as of the

  time this suit was initiated”)).)

        Defendants recognize that                       Redacted


              (as in Propat). (Objections, at 15.) WLF’s rights are solely to allow

  WLF to protect its investment, which “is fundamentally different than an intention

  to confer on WLF substantial rights in the patents themselves. See, e.g., Eidos

  Display, LLC v. AU Optronics Corp., Civ. No. 11-201, 2016 WL 6680578, at *5-6

  (E.D. Tex. Nov. 14, 2016) (‘a security interest in a patent without more does not

  generally pose a joinder issue because a security interest in and of itself does not


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  ordinarily create ownership rights in the patent’); City Bank & Trust Co. v. Otto

  Fabric, Inc., 83 B.R. 780, 782 (D. Kan. 1988) (‘[G]rant of a security interest [in a

  patent] need not include the conveyance of title or ownership rights.’).” (R&R, at

  23.)
                                                                                  Redacted
         As Magistrate Hammer recognized, since WAG holds legal title and

                                     , there is no risk of multiple lawsuits from the

  same infringement. (R&R, at 24.) Defendants continue this flawed argument by

  raising the hypothetical of                        Redacted




                                                                             . Thus, there

  can be no risk of multiple lawsuits, alleviating any prudential concerns.

         J. WAG’s Rights Are Substantial and Sufficient to Give It Standing
         The chart that Defendants include at the end of their brief misstates the

  factors that Alfred Mann sets forth for considering the rights that might be

  transferred to the licensee to grant that licensee sufficient rights to give the licensee

  standing. 7 (Objections, at 17.) Significantly, the Defendants’ chart did not include


  7
   In any event, the situation in Alfred Mann is distinguishable from the situation
  here, where WAG, the plaintiff to the lawsuit, is also the patent owner and has not
  licensed any rights to WLF, much less any rights to practice the patents-in-suit.

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  the “most important consideration” - the right to bring litigation to enforce the

  patent. Alfred Mann, 604 F.3d at 1361. And, as discussed above, that right is

  exclusive to the patent owner, WAG.

        As Magistrate Hammer found, WAG retains the right to make, use, and sell

  patented products.                             Redacted


  WAG, the legal title owner of the patents,              Redacted
                                                                              As

  Magistrate Hammer concluded, WAG has retained the requisite legal interest in the

  patents. (R&R, at 23.)




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                                   CONCLUSION

        For the reasons set forth above, WAG respectfully requests that the Court

  deny the Objections and adopt the R&R in its entirety.

  Dated: November 28, 2018              Respectfully submitted,

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                                        ARI J. JAFFESS
                                        M. MICHAEL LEWIS
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